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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 PHILLIPS PETROLEUM COMPANY
 VENEZUELA LIMITED and
 CONOCOPHILLIPS PETROZUATA B.V.,

                        Plaintiffs,

           v.                                      C.A. No. 19-mc-00342-LPS

 PETRÓLEOS DE VENEZUELA, S.A.,
 CORPOGUANIPA, S.A., and PDVSA
 PETRÓLEO, S.A.,

                        Defendants.


                        NOTICE OF WITHDRAWAL OF COUNSEL

          PLEASE TAKE NOTICE that, pursuant to Local Rule 83.7, Anne M. Steadman, Esquire,

hereby withdraws as counsel for Phillips Petroleum Company Venezuela Limited and

ConocoPhillips Petrozuata B.V. in this action. Phillips Petroleum Company Venezuela Limited

and ConocoPhillips Petrozuata B.V. will continue to be represented by their remaining counsel of

record.

                                             Respectfully submitted,

                                              ROSS ARONSTAM & MORITZ LLP

 Of Counsel:                                  /s/ Anne M. Steadman _____________
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                                              Venezuela Limited and ConocoPhillips
 Dated: February 5, 2021                      Petrozuata B.V.
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